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                Exhibit 9
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       Substance Abuse and Mental Health                                                            ::,;:

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www.samhsa.gov • 1-877-SAMHSA-7 (1-877-726-4727)                                                                  '<.y"",o


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                                                      March 6, 2025



       Dear Colleagues and Grantees:

       The behavioral health needs of children, youth and their families are one of the Substance Abuse
       and Mental Health Services Administration’s (SAMHSA) highest priorities. We know from our
       national surveys that far too many young people report mental health and substance use
       challenges. To address these needs, we have received a significant increase in funding from
       Congress to support children and youth, especially in schools, to strengthen the system of care.
       Yet, there remains a great need and opportunity to ensure children and youth are receiving all the
       appropriate care and services they need to thrive.

       As you may know, the Department of Health and Human Services (HHS), through Centers for
       Medicare and Medicaid Services (CMS) sent a Quality and Safety Special Alert Memo
       (QSSAM) yesterday, alerting providers to the dangerous chemical and surgical mutilation of
       children, including interventions that cause sterilization. The QSSAM reminds providers of their
       duty to serve all patients, especially children, with dignity and adherence to the highest standard
       of care that is informed by robust evidence and the utmost scientific integrity. The QSSAM’s
       message to providers on the dangerous chemical and surgical mutilation of children, including
       interventions that cause sterilization, was informed by a growing body of evidence and protective
       policies in other developed countries across the world. The memo notes that the U.S. is now an
       outlier in the treatment of gender-dysphoria in children, as the United Kingdom, Sweden, and
       Finland have recently issued restrictions on the use of puberty blockers and cross-sex hormones
       for children.

       Moving forward, SAMHSA will review its policies, grants, and programs in light of the concerns
       discussed in the QSSAM and may begin taking steps in the future to appropriately update its
       policies to protect children from chemical and surgical mutilation. SAMHSA may also consider
       re-scoping, delaying, or potentially cancelling new grants in the future depending on the nature
       of the work and any future policy change(s) SAMHSA may make. SAMHSA will follow any
       applicable substantive and procedural requirements in taking any future action.




      Behavioral Health is Essential to Health • Prevention Works • Treatment is Effective • People Recover
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Thank you for your continued partnership with HHS and SAMHSA and for your cooperation as
we work together to improve the health and well-being of the children of this country and to
Make America Healthy Again.

                                           Sincerely,




                                           Christopher D. Carroll, MSc
                                           Principal Deputy Assistant Secretary
                                           for Mental Health and Substance Use


Enclosed:
CMS, Quality and Safety Special Alert Memo, “Protecting Children from Chemical and Surgical
Mutilation,” March 5, 2025




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